           Case 1:20-cv-00747-JMF Document 23 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
BARIS OZKAPTAN,
                                    Petitioner,                       20 CIVIL 747 (JMF)

                 -against-                                               JUDGMENT

CITGROUP, INC.,
                                    Respondent.
----------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated Nov 6, 2020, Ozkaptan’s petition

is granted in part and denied in part, and Citigroup’s cross-motion is granted; more specifically,

the Award is confirmed but the Court declines to enforce the Award on the grounds that Citigroup

has already complied with it; accordingly, the case is closed.

Dated: New York, New York
       November 6, 2020

                                                       RUBY J. KRAJICK
                                                 _________________________
                                                         Clerk of Court
                                               BY:
                                                 _________________________
                                                          Deputy Clerk
